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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    TRENTON DIVISION

 THE INDEPENDENCE PROJECT, INC., a New
 Jersey Non Profit Corporation, and RONALD
 MOORE, Individually,

                Plaintiffs,                                    Case No.
 vs.

AC I TOMS RIVER LLC, a Foreign Limited
Liability Company,

               Defendant.
                                                      /
                                          COMPLAINT

        Plaintiffs, THE INDEPENDENCE PROJECT, rNC„ a New Jersey Non Profit

Corporation, and RONALD MOORE, Individ ually, on their beha lf and on beha lf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, AC I TOMS RIVE R LLC, a Foreign Li mited Liab ility

Company (sometimes referred to as "Defendant"), for Injunctive Relief, damages, attorney's

fees, litigation expense s, and costs purs uant to the American s with Disab ilities Act, 42 U.S.C .
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 § 12181 et seg. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                COUNTI
                      VIOLATION OF TITLE HI OF THE
            AMERICANS WITH DISABILITIES ACT. 42 USC S 12181, et sea.

 1.    Plaintiff, Ronald Moore, is an individual residing at 1002 Central Ave., New Providence,

       NJ 07974, in the County of Union.

 2.    Plaintiff, THE INDEPENDENCE PROJEC T, INC., is a nonprofit corporation formed

       under the lavys of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.
                     !
       maintains its principal office at 1002 Central Ave., New Providence, NJ 07974, in the

       County of Union.

 3.    Defendant, AC I TOMS RIV ER LLC , holds title to the subject property a lleged by the

       Plaintiffs to be operating in violation of Title III of the ADA.

 4.    Defendant's property, Commons at Hooper is located at 1342-1366 Hooper Avenue,

       Toms River, New Jersey 08753, in the County of Ocean.

 5.    Venue is properly located in the D istrict of New Jersey be cause venue lies in the judicial

      district of the property situ s. The Defendant's proper ty is located in and do es business

      within this judicial district.

6.    Pursuant to 28 U.S.C. § 1331 an d 28 U.S.C. § 1343, this Court has be en given original

      jurisdiction over actions whic h arise from the Defendant' s violations of Title III of the

      Americans with Disab ilities Ac t, 42 U.S.C. § 12181 et seg.        See also 28 U.S.C . § 2201

      and § 2202.

7.    Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

      individual with disabilities as de fined by the ADA , being a quadriplegic. Ronald Moore

      has visited the property which forms the bas is of this la wsuit on numerous occasions and




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       plans to return to the property in the near future to avail himself of the goods and services

       offered to the public at the prop erty, The Plaintiff has enc ountered architectural barr iers

       at the subject property. The barriers to access at the property have endangered his safety.

      The Plaintiff is also a member of the Plaintiff organization, THE INDEPENDENCE

      PROJECT, INC., discussed below in paragraph 8.

8.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

      corporation. Members of this organization include individuals with disabilities as defined
                                                     i



      by the ADA. The purpose of this organization is to rep resent the interes t of its members

      by assuring places of public accommodation are acce ssible to and usa ble by the di sabled

      and that its members are not discriminated against because of their disabilities.

9.    THE INDEPENDENCE PROJECT, rNC. and its members have suffered and will

      continue to suffer dire ct and indirect inj ury as a result of the Defendant's discrimination

      until the Defe ndant has compe lled to com ply with the r equirements of the AD A. One or

      more of its members has suffered an injury that woul d allow it to bring suit in its own

      right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

      because of its association with its disabled members and their claims.

10.   Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the regu lations implementing the ADA, 28 CF R 36.20 1(a) and

      36.104. Defendant is responsib le for comp lying with the obl igations of the AD A. The

      place of public accomm odation that the Defen dant owns, ope rates, leases or leases to is

      known as Commons at Hooper, and is located at 1342-1366 Hooper Avenue, Toms

      River, NJ 08753.

11.   THE INDEPENDENCE PROJECT, INC . and Ronald Moore have a realistic, credib le,




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            existing and contin uing threat of discrimination from the Defendant's non-compliance

            with the ADA with respect to th is property as described but not necessarily limited to the

            allegations in paragraph 13 of this complaint. Plaintiffs have reasonable grounds to

            believe that they wi ll continue to be subje cted to di scrimination in viola tion of the AD A

           by the Defendant. Ronald Moore desi res to visit Com mons at Hoope r not only to ava il

           himself of the g oods and servic es available at the property but to ass ure himself that this

           property is in compliance with the AD A so that h? and others similarly situated will have

           full and equal enjoyment of the property without fear of discrimination.

 12.       The Defendan t has discriminated against the individual Plaintiff and members of the

           corporate Plaintiff organization by denying them access to, and full and equal enjoyment

           of, the goods, service s, facilities, privileg es, advan tages and/or accom modations of the

           buildings, as prohibited by 42 U.S.C. § 12182 et seq.

 13.       The Defendant has discrim inated, and contin ues to di scriminate, agai nst the Pla intiffs in

           violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

           1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

           $500,000 or less). A preliminary inspection of Commons at Hooper has shown that

           violations exist. These violations that Ro nald Moore personally encountered or o bserved

          include, but are not limited to:


          Parking and Exterior Accessible Route

       a) Parking spaces throughout Commons at Hooper are not maintained; contain abrupt
          changes of level and lack adequate access aisles in some locations, viola ting Sections 502
          and 502.4 of the 2010 Ac cessibility Standards. These conditions during numerous visits
          prevented Mr. Moore from unloading from his van freely and safely. On certain
          occasions he would park away from the plaza to insure he could acce ss his van.




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    b) Curb ramps provi ded to access stores at Comm ons at Hoop er are unsafe for wh eelchair
       users and are not provided in some are as of the center. The curb ramps contain excessive
       slopes, abrupt changes of level and lack l evel landi ngs, violating Sections 402 and 406 of
       the 2010 Accessibility Standards. Mr. Moore dealt wi th a lack o f maneuvering space at
       the top of the curb ram p. These conditions are unsafe for M r. Moore when he accesses
       the curb ramps.

    c) The exterior accessible route from parking spaces at Commons at Hooper fails to provide
       a safe accessible route to ramps or curb ramps, violating Section 402 of the 2010
       Accessibility Standards. Mr. Moore was for ced to tra vel in the traffi c area of th e center
       to get to the curb ramp.


    Id) Commons at Hooper fai s to provide a safe accessible route to the adjacent
        street/sidewalk/bus stop, violating Section 206.2. 1 of the 2010 Access ibility Stand ards.
        The lack of an accessible route prevents the option of public transportation for Mr.
        Moore.

       Access to Goods and Services

   e) Golden Garden, Bag el Cafe and Dario Pizz a fail to provide accessible dining table s for
      those in wheelchairs, violating Section 902 of the 2010 Acces sibility Standards. Mr.
      Moore was unable to dine comfortably due to a lack of accessible tables.

   f) Payment counters throughout Commons at Hooper are mounted beyond the reac h of Mr.
      Moore, violating Sections 308 and 904 of the 2010 Accessibility Standards.

   g) Entering tenants is impeded by abrupt changes of level and/or slopes at the base,
      violating Sectio n 404 of the 2010 Acces sibility Standards. Mr. Moore's wheelchair can
      be damaged by abrupt changes of level.

       Restrooms

   h) Restrooms at Commons at Hooper including Golden Gard en, Bage l Caf6, Dario Pizza
      and Glitzy Nails/Spa were reported to be unsafe for use by the plaintiff. Inspection
      revealed Mr. Moore was unab le to use th e restrooms safely due to a lack of accessibility.
      Including, inaccessible water closets which lack proper controls and wheelchair
      maneuvering space violating Section 601 of the 2010 Accessibility Standards.

   i) Restrooms at Golden Garden, Bagel Cafe and Dario Pizza provi de dispensers beyo nd
      reach of wheelcha ir users and are inaccessible to the plain tiff, vio lating Sectio n 308 of
      the 2010 Accessibility Standards.

   j) Lavatories at Golden Garden, Bagel Cafe and Dario Pizza lack knee clearance and
      accessibility preventing the pla intiff from freely accessing the lav atory, violating Section
      606 the 2010 Accessibility Standards.


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      k) Golden Garden, Bagel Cafe and Dario Pizza provide restroo ms that contain improper
         centerlines for the water closets and flush contro ls mounted on the wall side , violating
         Section 604 of the 201 0 Accessibility Standards. Mr. Moore was una ble to access flush
         controls while in the restrooms due to improper location.

      1) Using restrooms doors at Golden Garden, Bagel Cafe and Dario Pizza in Comm ons at
         Hooper is impeded by round door knobs, improper signage and a lack of maneuv ering
         clearance, violating Section 404 of the 20 10 Accessibility Standards. Round door knobs
         impede Mr. Moore from easily accessing doors, levered doorhandles are required.

      m) The American's with Disabil ity Act of 1990 proh ibits discrimination bas ed on di sability
         by public accommodations and commercial facilities to be signed, constructed, la nd
         altered in compliance with the Accessibility Standards established in the Act. this
         facility does not meet with all of these standards.

      n) Exact measurements are not taken during initial inspection. A more detailed report
         should be completed after an appointment with the property owner or management.
         There may be other violations of the Americans with Disabilities Act that may be
         revealed following this inspection.

         Maintenance

      o) The accessible features of the facility are not maintained, creating barriers to access for
         the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

14.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

         Act Accessibility Guidelines (ADA AG), and the 2010 Standards for Accessible Design,

         as promulgated by the U.S. Department of Justice.

15.      The discriminatory violation s described in paragraph 13 are no t an exclusiv e list of the

         Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

         public accommodation in order to ph otograph and me asure all of the disc riminatory acts

         violating the ADA and all of the barriers to access. The individual Plaintiff, the members

         of the Plaintiff group, and all other individuals similarly situated, have been denied

         access to, and have been denied the benefits of services, progra ms and acti vities of the

         Defendant's buildings and its facilities, and have otherwise be en discriminated against




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       and dama ged by the Defenda nt because of the Defendant's ADA vi olations, as set fort h

       above. The individual Plaintiff, the members of the Plaintiff group and all others

       similarly situated will con tinue to su ffer such discrimination, injury an d dam age without

       the immediate relief provid ed by the ADA as reque sted herein. In order to remedy this

       discriminatory situation, the Plaintiff requires an inspe ction of the Defendant's place of

       public accommodation in order to dete rmine ail of the area s of non-compliance with the

       jVmericans with Disabilities Act,

 16.   Defendant has discriminated against the individu al and corporate Plainti ff by denying

       them access to full and equal enjoyment of the goods, services, facilities, privileges,

       advantages and/or accom modations of its place of pub lic accommodation or commercial

       facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

       the Defendant continues to discriminate against the Plaintiffs, and all those similarly

       situated by failing to make r easonable modifications in po licies, practices or procedures,

       when such modifica tions are necessary to afford all offered goods, servic es, facilitie s,

       privileges, advantages or accommodations to indiv iduals with disabilities; and by failin g

       to take such efforts that may be necessary to ensure that no individual with a d isability is

       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services.

 17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

       Considering the balance of hards hips between the Plain tiffs and Defe ndant, a reme dy in

       equity is warranted.    Furthermore, the public interest would not be disserved by a

       permanent injunction.

 18.   Plaintiffs have retained the undersigned counsel and is entitled to recover attorney's fees,




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        costs and litigation expe nses from the Defen dant pursuant to 42 U.S.C . § 1220 5 and 28

        CFR 36.505.

 19.   Defendant is required to remove the existing architectural barriers to the physically

       disabled when such rem oval is readily achievable for its place of pu blic accommodation

       that have existed prior to January 2 6, 1992, 28 CF R 36.304(a); in th e alternative, if there

       has been an alterat ion to Defendant's place of public accom modation since Janu ary 26,

       1992, then the Defend ant is required to ensure to the max imum extent feasible, that the

       altered portions of the facility are readily access ible to and usea ble by individuals with

       disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

       Defendant's facility is one which was designed and constructed for first occupancy

       subsequent to January 26, J993, as defined in 28 CFR 36.401, then the Defendant's

       facility must be readily accessible to and useable by individuals with disabilities as

       defined by the ADA.

 20.   Notice to Defendant is not required as a result of the Defendan t's failure to cure the

       violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

       employees and gross receipt s of $500,0 00 or less). All other conditions prec edent have

       been met by Plaintiffs or waived by the Defendant.

21.    Pursuant to 42 U.S.C. § 12188, this Court is provide d with authority to gra nt Plainti ffs

       Injunctive Relief, including an order to require the Defendants to alter Commons at

       Hooper to make its fac ilities readily accessible and usea ble to th e Plaintiffs and al l other

       persons with disabilities as defined by the ADA; or by closing the fac ility until such time

       as the Defendant cures its violations of the ADA.




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 WHEREFORE, Plaintiffs respectfully request:

       a.        The Court issue a Declaratory Judgment that determines that the Defendant at the

                 commencement of the subject lawsuit is in vio lation of Title III of the Am ericans

                 with Disabilities Act, 42 U.S.C. § 12181 etseq.

       b.        Injunctive relief against the Defendant including an order to make all readily

                 achievable alterations to the fac ility; or to ma ke such facility readily accessible to

                 and usable by individuals wiith disabilities to the extent required by the ADA; and
             j


                 to require the Defendant to make reasonable modifications in policies, practices or

                 procedures, when such modifications are necessary to afford all offered goods,

                 services, facilities, privileges, advantages or acco mmodations to indiv iduals with

                 disabilities; and by fa iling to take such steps that may be necessary to ensure that

                 no individual with a disability is excluded, denied services, segregated or

                 otherwise treated differently than other individuals because of the absence of

                 auxiliary aids and services.

      c.         An award of attorney's fees, costs and litigatio n expenses pursuant to 42 U.S.C .

                 § 12205.

      d.         Such other relief as the Court deems just and proper, and/or is allowable under

                 Title III of the Americans with Disabilitie s Act. The Order sh all further require

                 the Defendant to maintain the required accessible features on an ongoing basis.

                                 COUNT II
            VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

22.   Plaintiffs reallege all prior obligations as if fully set forth herein.     Plaintiffs repeat the

      allegations contained in all of the proceeding paragraphs.

23.   Defendant's facility is a place of public acco mmodation as define d by N.J .S.A. 10:5- 5,


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         (New Jersey Law Against Discrimination).

  24.    New Jersey law provides that all persons shall have the opportunity to obtain all the

         accommodations, advantages, facilities and privileges of any place of public

         accommodation without discrimin ation on the basis of disa bility. This opportu nity is

         recognized and declared to be a civil right. (See, N.J.S.A. 10:5-4.)

  25.    As a result of the aforementioned discrim ination, Plain tiff Ron ald Moore has susta ined

         emotional distress, mental anguish an d suffering and humi i ation, and other injur ies, in

         violation of the New Jersey Law Against Discrimination.

         WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

  litigation expen ses, including expert fees and costs pursuant to the New Jersey Law Agai nst

  Discrimination.

         Dated: \                              Respectfully Submitted,


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